                    Case 4:11-cr-00114-SWW Document 68 Filed 10/16/13 Page 1 of 3
                                                                                                      FILED
                                                                                                 EASft~~pJfJ.rnfc\~~~tsAs
                                                                                                      OCT 16 2013
                                       United States District Court
                                                   for the                                 JAMES W. McCORMACK, CLERK
                                                                                           By:        t! lltUu qarj;L
                                         Eastorn Dlstrlet of Arkanau                                                DEPCLERK


                       Request ror Modll)lng the Condltlau or Term or Supervision
                                     with Consent of the Offender
                                     ,,.,.,,. ,,.. n, ff'itlNr   .,H.,,"Mtatdl
Name ofOfTencler: Contessa Clark                                          Case Number: 4: t ICROOll4-00l SWW
Name of Sentencing Judicial Officer:     Honorable Susan Webber Wright
                                         United States District Judge
Original Offense:        Conspiracy to Commit ~II Fraud
Date of Sentence:        Febrwuy 10, 2012
Original Sentence:       36 months probation, defendant shall not obtain employment at an lnsdtutlan Insured
                         by the FDIC or a Federal Credit Union, financial disclosure. no new Jines or credit,
                         DNA collection. 521,283.84 restitution and Sl 00 special penalty assessmeaL

 Febnuuy 22,2013:        Judgment amended to Include chat defendant shall serve six months in home
                         detention with electronic monitoring.

      March 6. 2013:     Motion for early tennlnatlon or probation denied.
 Type or          Probation         Date Supervision Commenced: February I0, 2012
 Supervision:                       Date Supervision Expires: Februll)' 9, 2015
    U.S. Proballon                  Asst. U.S.                                   Defense
    omc:er. Emlllenne Nppa          Attorney: Michael Oordon                     Altomey: To be appointed

                                        PET~TIONING THE COURT

0       To extend the tenn ofsupemslon for_ ycar(s), for a total tenn or _ _ years.
X       To modifY the conditions of supervision as follows:

The defendant shaD pay restitution In the amount olnatlas than $100 a month.

                                                       CAUSE

Ms. Clark has failed to pay her restitution according to the payment schedule ordered. A financial Investigation
revealed Ms. Clark's gross tnc:omo is $1688.50. However, her necessary expenses are $1615.92. Ms. Clark
agreed to review her monthly expenses and make at least S100 restitution payments per month.
             Case 4:11-cr-00114-SWW Document 68 Filed 10/16/13 Page 2 of 3




l'kUil·W
                                     Waiver of Henring to Modi!)' Conditions
                         of Probation/Supervised Release or H:~tcnd ,.enn of Supervision

                           UNITED STATES DISTRICT COURT
                                       for the
                           EASTERN DISTRICT OF ARKANSAS
           I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supe1-viscd Release or my period of supervision being extended. By 'assistance of counsel', I
understand that Jhave the right to be represented at the hearing by counsel of my own choosing if
I nrn able to retain counsel. I also understand thatl have the right to request the Court to appoint
counsel to represent me at such n hearing at no cost to myself ifl am not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to 11 hearing and to assistance of counsel. I
also agree to the following modilication of my Conditions of Probation and Supervised Release
or to the proposed extension ot' my tenn of supervision:

The defendant shall pay rc... titutfon in the nmount of not less tbnn $100 n month.




                                                          Signed:~~
                                                            Probationer or Supervised Releasee
                                        cOc,.t;~           <6 "-o l J
                                                     DATE'
                  Case 4:11-cr-00114-SWW Document 68 Filed 10/16/13 Page 3 of 3

l'rub 1213                                              -2-                               Request ror Modif)'ing chc
                                                                                 Conditions or 1'crms of Supervision
                                                                                       wilh Consent of the Offender
Nnmc of OITcndcr: Contessn Clark                                          Cnsc Number: 4:1 1CR00114-00I SWW


                              ...
                                                                  Michael Gordon
                                                                  Assislnnt U.S. Attorney

 l>utc: October 10. 2013                                          Dote:

Appnwcd:




This form is to be filed with Criminal Docketing as a motion·.


THE COURT ORDERS:
o No Action
o The E~tcnsion ol' Supcr\'ision ns Noted Above
~The Modilicntion ofCondilions as Noted Above



                                                                 w~)fk,~
o Other


                                                                   or omccr
                                                                  Signature       Judicfnl
                                                                           10-/~-20/3
                                                                  Dntc

This form is to be: tiled with Criminnl Docketing ns nn order nndlor petition.

c:: t\ssistunl f'cdcnll Public Dcrcndcr, JcnniiTer Homn, 1•101 West Capilol Avcmie, Suite490, Linlb·Rock. AR
    72201
    Assist~ml U.S. Auomcy, Michncl Oqrdon, P.O. Box 1229. Little Rock, AR 72203
